
47 So.3d 407 (2010)
STATE of Louisiana
v.
Jermaine PAGE.
No. 2010-KK-2522.
Supreme Court of Louisiana.
November 12, 2010.
PER CURIAM.[*]
GRANTED. The ruling of the trial court granting the motion to suppress is reversed, and the motion to suppress is denied. Once the officer determined the pills were not routine, over the counter medication, and the defendant indicated he had no prescription, the officer had probable cause to arrest the defendant. The case is remanded to the trial court for further proceedings.
JOHNSON and KNOLL, JJ., would deny the application.
NOTES
[*]  Chief Justice Kimball not participating in this opinion.

